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UNITED sTATEs DISTRICT CoURT ,, j l
WESTERN DISTRICT oF NEW YoRK

     

 

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DONNA GARFIELD,
Plaintiff, DECISION AND ORDER

l4-CV-644O EAW
V.

OCWEN LOAN SERVICING, LLC,

Defendant.

 

INTRODUCTION
Plaintiff Donna Garfield (“Plaintiff”) brings this action against defendant chen
Loan Servicing, LLC (“Defendant”) alleging violation of the Fair Debt Collection
Practices Act, 15 U.S.C. § 1692 et seq. (“FDCPA”). (Dkt. l). Presently before the Court
is Defendant’s motion to dismiss the complaint (Dkt. 6). For the foregoing reasons,
Defendant’s motion is granted, and Plaintiffs complaint is dismissed in its entirety.
BACKGROUND
The following facts are based on the allegations contained in Plaintiffs complaint
(Dkt. l).
Plaintiff incurred a mortgage loan debt With Litton Loan Servicing, L.P. (]d. at
il 9). Plaintiff defaulted on the debt. (Id. at ll ll).
In or about 2009, Plaintiff filed for Chapter 13 bankruptcy in the United States
Bankruptcy Court for the Western District of New York. (Id. at 11 13). The mortgage

debt Was listed as one of Plaintiff’s debts in the bankruptcy proceeding (Id.). Defendant

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acquired the debt after Plaintiff s default and during the pendency of the bankruptcy
proceeding (Ia’. at 1111 12, 13). Plaintiff alleges that she paid the arrears for the subject
debt by monthly payments through her bankruptcy plan. (Id. at 11 13).

ln or about August 2013, Plaintiff’s bankruptcy Was discharged (Id. at 11 14).
After the discharge, Plaintiff Was to make payments in the amount of $938.00 a month
towards her mortgage (Ia’. at 11 15).

Plaintiff alleges that Defendant never sent her any statement for her mortgage
payments from July 2013 through February 2014. (Id. at 11 16). Plaintiff made a payment
to Defendant in the amount of $938.00 in November 2()13.l (Id. at 11 17).

Plaintiff alleges that in or about February 2014, Defendant demanded that Plaintiff
pay $21,825.15 for the alleged debt, or it Would begin foreclosure proceedings (Id. at
11 18). Plaintiff further alleges that in or about February 2014, she obtained a copy of her
Equifax credit report, and discovered that Defendant reported the debt in the amount of
$lS,OOO, Which had been included in her Chapter 13 bankruptcy (Id. at 11 19). Plaintiff
disputed Defendant’s reporting of the debt to Equifax in or about March 2014. (Id. at
11 20). EquifaX also investigated the tradeline for the debt With Defendant; after the
investigation, Defendant reported the debt for the amount of $23,532. (Id.).

On or about March 17, 2014, Plaintiff received a bill from Defendant for her

monthly payment of $938.18, plus a current arrears payment of $6,672.34. (Id. at 11 21).

 

l Plaintiff` s complaint states that she made a payment to Defendant in November

2014. (Dkt. 1 at 11 17). Hovvever, the 2014 date appears to be a typographical error. (See
Dkt. 9 at 2).

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On or about April 26, 2014, Plaintiff received a delinquency notice from Defendant
stating that she owed $22,684.36. (Ia’. at 11 22). Plaintiff alleges that as a result of
Defendant’s actions, she “became nervous, upset, anxious, and suffered from emotional
distress.” (Id. at 11 23).
PR()CEDURAL HISTORY

Plaintiff filed her complaint on July 31, 2014, alleging that Defendant violated the
FDCPA when it attempted to collect a debt relating to Plaintiffs mortgage, when said
debt was previously discharged in a bankruptcy proceeding (Dkt. l at 1111 13-26).
Speciflcally, Plaintiff alleges that Defendant violated the FDCPA by stating on various
occasions that Plaintiff owed $21,825.15, $18,000, and $22,684.36, which were
inaccurate amounts for the subject debt; by communicating on Plaintiff’s credit report
that she owed $23,532 on the debt; by stating in February 2014, that Plaintiff was in
danger of losing her home; by failing to communicate the mini-Miranda warning2 during
conversations with Plaintiff; and by failing to send Plaintiff the 30-day validation notice
within five days of Defendant’s initial communication with her. (Id. at 11 25(A-E)).

On August 13, 2014, the Court granted Defendant an extension of time to answer,
move, or otherwise respond to Plaintiff s complaint until and including September 19,

2014. (Dkt. 5). On September 19, 2014, Defendant filed the instant motion to dismiss,

 

2 “[S]ection 1692e(11) [of the FDCPA] requires that the initial communication from
the debt collector contain language notifying the consumer that the debt collector is
attempting to collect a debt and that any information obtained will be used for that
purpose, and subsequent communications must disclose that the communication is from a
debt collector. These requirements are often referred to as the ‘Minz`-Mz'rana’a’
warnings.” Ostrander v. Dentistry by Dr. Kaplcznsky, PLLC, No. 07-CV-852-JTC, 2010
U.S. Dist. LEXIS 30650, at *12 (W.D.N.Y. Mar. 30, 2010) (emphasis in original).

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arguing that Plaintiff’s filing a complaint in federal court is an improper attempt to evade
the Bankruptcy Code, as allegations stemming from efforts to collect debts previously
discharged in bankruptcy are claims for violations of the Bankruptcy Code’s automatic
stay, and are properly venued in bankruptcy court. (Dkt. 6-1 at 5). Plaintiff responded on
November 11, 2014 (Dkt. 9), and Defendant replied on December 5, 2014 (Dkt. 10).
Oral argument was held on January 5, 2015, and the Court reserved decision on the
motion. (Dkt. 11).
DISCUSSION

I. Legal Standard on a Motion to Dismiss

‘°‘ln considering a motion to dismiss for failure to state a claim under Fed. R. Civ.
P. 12(b)(6), a district court must limit itself to facts stated in the complaint or in
documents attached to the complaint as exhibits or incorporated in the complaint by
reference.”’ Newman & Schwartz v. Aspluna’h Tree Expert Co., 102 F.3d 660, 662 (2d
Cir. 1996) (quoting Kramer v. Tz`me Warner, Inc., 937 F.2d 767, 773 (2d Cir. 1991)). A
court should consider the motion “accepting all factual allegations in the complaint and
drawing all reasonable inferences in the plaintiffs favor.” Ruotolo v. Cily of New York,
514 F.3d 184, 188 (2d Cir. 2008) (internal quotations and citation omitted). To withstand
dismissal, a plaintiff must set forth “enough facts to state a claim to relief that is plausible
on its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). “‘A claim has facial
plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.”’ Turkmen v.

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Ashcroft, 589 F.3d 542, 546 (2d Cir. 2009) (quoting Ashcroft v. Iqbal, 556 U.S. 662, 678
(2009)).

“While a complaint attacked by a Rule 12(b)(6) motion to dismiss does not need
detailed factual allegations, a plaintiffs obligation to provide the grounds of his
entitle[ment] to relief requires more than labels and conclusions, and a formulaic
recitation of the elements of a cause of action will not do.” Twombly, 550 U.S. at 555
(alteration in original) (internal quotations and citations omitted). Thus, “at a bare
minimum, the operative standard requires the plaintiff [to] provide the grounds upon
which his claim rests through factual allegations sufficient to raise a right to relief above
the speculative level.” Golcz’sz‘ez'n v. Patakz`, 516 F.3d 50, 56 (2d Cir. 2008) (alteration in
original) (internal quotations and citations omitted).

II. Plaintiff Must Pursue Her Claims in Bankruptcy Court

Defendant argues that Plaintiff’s complaint must be dismissed because her claims

pursuant to the FDCPA are claims for violation of the bankruptcy automatic stay and

those allegations do not give rise to an independent cause of action under the FDCPA.3

 

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Defendant argues that a violation of the Bankruptcy Code s automatic stay” does
not give rise to an independent cause of action under the FDCPA. (Dkt. 6-1 at 7). The
automatic stay provision, 11 U.S.C. § 362(a), provides that a bankruptcy petition operates
as a stay on any action to collect a debt against a debtor during the pendency of a
bankruptcy proceeding Similarly, the discharge injunction provision, 11 U.S.C.
§ 524(a)(2), states that a bankruptcy discharge operates as an injunction against the
commencement or continuation of an action, the employment of process, or an act to
collect, recover, or offset any debt. Therefore, a closer examination of Plaintiffs
complaint reveals that the automatic stay provision is not in play in this case, as the
alleged violations by Defendant occurred after Plaintiff s debt was discharged, and not
during the pendency of the bankruptcy proceeding Rather, the relevant provision of the
Bankruptcy Code applicable to this case is the discharge injunction provision While the

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(Dkt. 6-1 at 7). Plaintiff argues that the case law addressing the relationship between the
Bankruptcy Code and the FDCPA is unsettled, and the Court should follow recent
decisions of the Third and Seventh Circuits holding that the Bankruptcy Code does not
preclude a plaintiff from seeking relief under the FDCPA. (Dkt. 9).

A. The Bankruptcy Code and the FDCPA

“The United States Bankruptcy Code provides a comprehensive federal system of
penalties and protections to govern the orderly conduct of debtors’ affairs and creditors’
rights.” E. Equz‘p. & Servs. Corp. v. Factory Poz`nt Nat’l Bank, 236 F.3d 117, 120 (2d
Cir. 2001). Accordingly, as observed by the United States Supreme Court: “if . . .
bankruptcy . . . [occurs], the debtor’s protection and remedy [remain] under the
Bankruptcy Act.” Kokoszka v. Belford, 417 U.S. 642, 651 (1974). To that end, a
bankruptcy discharge “operates as an injunction against the commencement or
continuation of an action, the employment of process, or an act, to collect, recover or
offset any such debt as a personal liability of the debtor, whether or not discharge of such
debt is waived. . . .” 11 U.S.C. § 524(a)(2). “The remedy provided by the bankruptcy

code for a violation of the stay [or the discharge injunction] is a motion for contempt

 

automatic stay and discharge injunction are separate provisions in the Bankruptcy Code,
they are treated as the same for purposes of evaluating FDCPA claims, and courts
addressing alleged violations of the discharge injunction regularly cite to cases
addressing violations of the automatic stay. See Walls v. Wells Fargo Bank, N.A., 276
F.3d 502, 504-05, 510-11 (9th Cir. 2002); Yaghobz` v. Robz'nson, 145 F. App’x 697, 699
(2d Cir. 2005); Neccz' v. Universal Fz'a’. Corp., 297 B.R. 376, 379 (E.D.N.Y. 2003);
Diamcmte v. Solomon & Solomon, P.C., Bankr. L. Rep. (CCH) P78,525, 2001 U.S. Dist.
LEXIS 14818, at *18-19 (N.D.N.Y. 2001); O)'r v. Allz'ea’ Im‘erstate, Inc., No. 8:ll-CV-
973 (NAM/RFT), 2012 U.S. Dist. LEXIS 130039, at *9-11 (N.D.N.Y. Sept. 12, 2012);
Degrosiellz`er v. Solomon & Solomon, P.C., No. 00-CV-1065, 2001 U.S. Dist. LEXIS
15254, at *13-17 (N.D.N.Y. Sept. 27, 2001).

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pursuant to section 105 of the bankruptcy code.” Neccz' v. Universal Fz'a’. Corp., 297 B.R.
376, 379 (E.D.N.Y. 2003) (citing 11 U.S.C. § 105(a)).

The FDCPA prohibits debt collectors from engaging in abusive, deceptive, and
unfair debt collection practices See Degrosiellz'er v. Solomon & Solomon, P.C., No. 00-
CV-1065, 2001 U.S. Dist. LEXIS 15254, at *5 (N.D.N.Y. Sept. 27, 2001); see also 15
U.S.C. § l692(e) (“lt is the purpose of this title . . . to eliminate abusive debt collection
practices by debt collectors, to insure that those debt collectors who refrain from using
abusive debt collection practices are not competitively disadvantaged, and to promote
consistent State action to protect consumers against debt collection abuses.”).

The sections of the FDCPA allegedly violated by Defendant include 1692e,
1692e(2), 1692e(5), 1692e(8), 1692e(10), 1692@(11), 1692f, l692f(1), and 1692g. (Dkt.
1 at 11 25(A-E)). Section 1692e, which prohibits “false or misleading representations,”
provides that “[a] debt collector may not use any false, deceptive, or misleading
representation or means in connection with the collection of any debt.” 15 U.S.C.
§ 1692e. Section 1692f, which prohibits “unfair practices,” provides that “[a] debt
collector may not use unfair or unconscionable means to collect or attempt to collect any
debt.” 15 U.S.C. § l692f. Section l692g, which prohibits “validation of debts,” provides
that “[w]ithin five days after the initial communication with a consumer in connection
with the collection of any debt, a debt collector shall . . . send the consumer a written

notice. . . .” 15 U.S.C. § 1692g.

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B. Preclusion of FDCPA Claims

Courts that have addressed the issue of preclusion of FDCPA claims based on an
alleged violation of the bankruptcy stay or discharge injunction are divided. Compare
Walls v. Wells Fargo Bank, N.A., 276 F.3d 502, 510-11 (9th Cir. 2002) (Plaintiffs
FDCPA claim precluded by the Bankruptcy Code), and Burchalewskz` v. Wolpo]j” &
Abramson, LLP, No. 06-CV-443S, 2008 U.S. Dist. LEXIS 73625, at *5-6 (W.D.N.Y.
Sept. 8, 2008) (no independent cause of action under the FDCPA for violation of the
bankruptcy stay), with Randolph v. IMBS, Inc., 368 F.3d 726, 729-34 (7th Cir. 2004)
(recognizing FDCPA claim for violation of Bankruptcy Code’s automatic stay provision),
and Peeples v. Blatt, Case No. 00 C 7028, 2001 U.S. Dist. LEXIS 11869, at *13 (N.D. lll.
Aug. 14, 2001) (claims under both the Bankruptcy Code and the FDCPA can be
maintained). However, “the majority view holds that a FDCPA claim is not available in
such cases.” Neccz', 297 B.R. at 379.

Notably, the Second Circuit Court of Appeals has stated that while “[t]he FDCPA
is designed to protect defenseless debtors and to give them remedies against abuse by
creditors,” “[t]here is no need to protect debtors who are already under the protection of
the bankruptcy court, and there is no need to supplement the remedies afforded by
bankruptcy itself.” Simmons v. Roundup Funa'z`ng, LLC, 622 F.3d 93, 96 (2d Cir. 2010)
(holding that the filing of a proof of claim in bankruptcy court cannot form the basis for
an FDCPA claim); see also Yaghobz` v. Robinson, 145 F. App’x 697, 699 (2d Cir. 2005)
(“because the bankruptcy court is the appropriate forum to determine whether a creditor

has, in fact, violated a discharge order, a plaintiff debtor who, as in this case, fails to

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secure such a determination lacks a colorable factual basis to plead an unfair debt
collection practice based only on a § 524 violation.”).

Furthermore, “New York District Courts have generally concluded that there is not
an independent cause of action under the FDCPA for the violation of a bankruptcy stay,
and that such claims are precluded by the Bankruptcy Code.” Burchalewski, 2008 U.S.
Dist. LEXIS 73625, at *5.4 In Burchalweskz', a decision issued by this Court, the
Honorable William M. Skretny, Chief Judge, United States District Court, noted that
while the circuit courts disagree as to whether a plaintiff has an independent cause of
action under the FDCPA, New York courts have generally concluded that there is not an
independent cause of action. Id. at *4-5. The Court noted that permitting an independent
cause of action under the FDCPA “‘would circumvent the remedial scheme of the
[Bankruptcy] Code under which Congress struck a balance between the interests of
debtors and creditors by permitting (and limiting) debtors’ remedies for violating the
discharge injunction to contempt.”’ Id. at *5-6 (quoting Walls, 276 F.3d at 510)
(alteration in original). The Court therefore dismissed the plaintiffs claims that the
defendant attempted to collect a debt that was stayed in bankruptcy and misrepresented

the name of the debt owner.

 

4 The Court is cognizant that “the decisions of district courts, even those located

within the same district, are not binding on other district courts.” Arculeo v. On-Sl`te
Sales & Mktg., LLC, 321 F. Supp. 2d 604, 609 (S.D.N.Y. 2004), a]j”’d, 425 F.3d 193 (2d
Cir. 2005). However, the decisions of other district courts, including decisions from the
same district, are “relevant and persuasive.” Baldanzz' v. WFC Holdz`ngs Corp., No. 07
Civ. 9551 (LTS)(GWG), 2008 U.S. Dist. LEXIS 95727, at *9 (S.D.N.Y. Nov. 14, 2008).

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Other New York district courts are in agreement that the Bankruptcy Code
precludes claims under the FDCPA. See Neccz`, 297 B.R. at 381 (concluding that where
plaintiff alleged violations of 15 U.S.C. § l692e of the FDCPA, the Bankruptcy Code
“precludes claims under the FDCPA when those claims are based upon violations of the
bankruptcy stay.”); Diamante v. Solomon & Solomon, P.C., Bankr. L. Rep. P78,525,
2001 U.S. Dist. LEXIS 14818, at *7-8 (N.D.N.Y. 2001) (“Plaintiff is, in effect,
attempting to circumvent the enforcement and remedial scheme of the Bankruptcy Code,
which provides a remedy for any violation of § 524 in the form of possible contempt
sanctions To permit such claims would thwart Congress’ intent in promulgating the
Bankruptcy Code to create a singular federal system to adjust all of the rights and duties
of both creditors and debtors Accordingly, the Court grants Defendant’s motion to
dismiss Plaintiff s state law claims on the grounds that the Bankruptcy Code preempts
them.”); Orr v. Allz'ed Interstate, lnc., No. 8:ll-CV-973 (NAM/RFT), 2012 U.S. Dist.
LEXIS 130039, at *9-11 (N.D.N.Y. Sept. 12, 2012) (dismissing plaintiffs claim that
defendants attempted to collect a debt that had been discharged in a bankruptcy
proceeding in violation of § 1692e of the FDCPA because “the bankruptcy court is the
proper forum for determining in the first instance whether defendants violated the
discharge order.”); Degrosz'ellier, 2001 U.S. Dist. LEXIS 15254, at *16 (where plaintiff
alleged violations of 15 U.S.C. §§ l692e and 1692f of the FDCPA, “[t]his Court agrees
with . . . the majority of other courts which have addressed the issue, that plaintiff is

precluded from asserting any claims for money damages pursuant to the FDCPA which

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are premised on conduct otherwise remedied or governed by provisions of the
Bankruptcy Code.”).

Plaintiff correctly notes that appellate and trial courts have reached inconsistent
conclusions regarding whether the Bankruptcy Code precludes FDCPA claims (Dkt. 9 at
7). Plaintiff cites a number of district and bankruptcy court decisions holding that
FDCPA claims are not precluded by the Bankruptcy Code; however, none of these cases
were decided by courts within the Second Circuit. (Id. at 7-8).

Plaintiff also argues that Defendant attempts to characterize the Second Circuit’s
decision in Sz`mmons as adopting a broad approach to the preclusion of FDCPA claims,
much like that adopted by the Ninth Circuit in Walls, when Simmons actually limited the
scope of its findings to cases involving deceptive proof of claims filed in a bankruptcy
case. (Id. at 10-11). However, Plaintiff fails to note that in Burchalewskz`, a case from
this district, the Court relied on the Walls’ court’s characterization of the Bankruptcy
Code’s preclusion of FDCPA claims Burchalewskz', 2008 U.S. Dist. LEXIS 73625, at
*5-6. Here, there is no reason to depart from the decision in Burchalewskz' in light of the
Second Circuit’s decision in Sz`mmons. Rather, Simmons supports the reasoning of
Burchalewskz`.

Plaintiff argues that the Seventh and Third Circuits have taken the approach of
examining the differences between the Bankruptcy Code and the FDCPA to determine if
there is an irreconcilable conflict between the statutes such that claims under the FDCPA
should be precluded See Randolph, 368 13 .3d at 730; Sz'mon v. FIA Card Servs., N.A.,

732 F.3d 259, 275-76 (3d Cir. 2013). Plaintiff argues that the Court should adopt this

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approach (Dkt. 9 at 13). However, the Second Circuit has not adopted the approach of
the Third and Seventh Circuits, and this Court declines to adopt it absent guidance from
the Second Circuit. lndeed, the Second Circuit has, by all accounts, adopted a position 4
contrary to the Third and Seventh Circuits that FDCPA claims are preempted when the
debtor is already under the protection of the Bankruptcy Court. Sz'mmons, 622 F.3d at 96.
Even if the Court adopted the approach of the Third and Seventh Circuits, as
suggested by Plaintiff, Plaintiffs claims would still be barred because many of Plaintiff s
allegations directly conflict with the Bankruptcy Code’s discharge injunction provision.
The Bankruptcy Code precludes a creditor from collecting or recovering a debt that was
discharged in bankruptcy. See ll U.S.C. § 524(a)(2) (bankruptcy discharge “operates as
an injunction against the commencement or continuation of an action, the employment of
process, or an act, to collect, recover or offset any such debt as a personal liability of the
debtor, whether or not discharge of such debt is waived. . . .”). The FDCPA provisions
allegedly violated by Defendant include:
(1) 15 U.S.C. § 1692e(2), prohibiting the false representation of the
character, amount, or legal status of any debt, or any services
rendered or compensation which may be lawfully received by any

debt collector for the collection of a debt;

(2) 15 U.S.C. § 1692e(5), prohibiting a debt collector from threatening
to take any action that cannot be legally taken or that is not intended

to be taken;

(3) 15 U.S.C. § 1692e(8), prohibiting a debt collector from
communicating or threatening to communicate to any person credit
information which is known or which should be known to be false,
including the failure to communicate that a disputed debt is disputed;

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(4) 15 U.S.C. § 1692e(10), prohibiting the use of any false
representation or deceptive means to collect or attempt to collect any
debt or to obtain information concerning a consumer;

(5) 15 U.S.C. § l692e(11), providing that a debt collector must include
in its initial communication with a debtor that the debt collector is
attempting to collect a debt and that any information obtained will be
used for that purpose, and that a debt collector must disclose in
subsequent communications that the communication is from a debt
collector;

(6) 15 U.S.C. § 1692f(1), prohibiting the collection of any amount
(including any interest, fee, charge, or expense incidental to the
principal obligation) unless such amount is expressly authorized by
the agreement creating the debt or permitted by law; and,

(7) 15 U.S.C. § 1692g(3)5, providing that within five days after the
initial communication with a consumer in connection with the
collection of any debt, the debt collector must send the consumer a
written notice containing a statement that unless the consumer,
within 30 days after receipt of the notice, disputes the validity of the

debt, or any portion thereof, the debt will be assumed to be valid by
the debt collector.

The above-referenced FDCPA provisions allegedly violated by Defendant conflict
with the Bankruptcy Code’s discharge injunction because the FDCPA provisions regulate
conduct that is forbidden by the discharge injunction In other words, a debt collector
cannot comply with the discharge injunction, which prohibits action to collect on a
discharged debt, and comply with the provisions of the FDCPA, which presume action by

a debt collector to collect on a debt. In short, by this Court’s analysis, “the FDCPA claim

 

5 Plaintiff does not specifically identify which section of 15 U.S.C. § 1692g was
allegedly violated by Defendant, but Plaintiff does state in her complaint that Defendant
violated § 1692 g “by failing to send the consumer a 30-day validation notice within five
days of the initial communications.” (Dkt. 1 at 11 25(E)). Accordingly, the Court
presumes that Plaintiff is alleging a violation of § 1692g(a)(3), which governs the right of
the consumer to dispute the validity of a debt.

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raises a direct conflict between the Code or Rules and the FDCPA,” such that both laws
cannot be enforced. Sz`mon, 732 F.3d at 274 (3d Cir. 2013).

For example, Plaintiff claims that Defendant violated 15 U.S.C. § 1692e(11)
because it failed to communicate to Plaintiff the mini-Miranda warning Here, Defendant
cannot comply with § 1692(e)(11) and the Bankruptcy Code’s discharge injunction
provision because, as explained by the Third Circuit Court of Appeals in Sz`mon, “sending
a § l692e(11) notice [would violate] the automatic stay.” ]d. at 280. Therefore, “1i]f, as
the [Plaintiffj argue[s], a § 1692e(11) claim could arise from the fact that the
[Defendant’s] letters . . . did not include the “mini-Mz'randa” notice, the [Defendant]
would violate the automatic stay provision of the Bankruptcy Code by including the
notice or violate the FDCPA by not including the notice. This conflict precludes
allowing a claim under § 1692e(11). . . .” Ia’.

Many of the FDCPA provisions allegedly violated by Defendant involved
communication with Plaintiff in an effort to collect a discharged debt. See 15 U.S.C.
§§ 1692e(2), (5), (10), and (11), 1692g, and 1692f(l). Specifically, Plaintiff alleges that
Defendant “demanded that [she] pay $21,825.15 for the alleged subject debt or they
would begin foreclosure proceedings”; that she “received a bill from the Defendant for
her monthly payment of $938.18 plus her current arrears payment of [$6,672.34]”; and
that she “received a delinquency notice from the Defendant stating [she] owed
$22,694.36.” (Dkt. 1 at 1111 18, 21-22). These communications with Plaintiff in an effort
to collect on her previously-discharged debt, even if in compliance with the FDCPA,

would nevertheless violate the discharge injunction. Furthermore, because the discharge

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injunction prohibits any act to collect, recover, or offset a debt that has been discharged
in bankruptcy, communications made to others in an effort to collect a discharged debt
may violate the discharge injunction. Accordingly, Defendant’s alleged violation of 15
U.S.C. § 1692e(8) by communicating on Plaintiff s credit reports that she owed a debt
also arguably violated the discharge injunction

In the last analysis, even if some of the FDCPA provisions allegedly violated by
Defendant do not directly conflict with provisions in the Bankruptcy Code, there is no
question that some of Defendant’s alleged FDCPA violations conflict with the
Bankruptcy Code. ln light of the “clear federal policy . . . [of] avoidance of piecemeal
adjudication,” see Colorado Rl`ver Waler Conservation Dist. v. United States, 424 U.S.
800, 819 (1976), Plaintiffs proper remedy is to file a motion for contempt in bankruptcy
court, pursuant to section 105 of the Bankruptcy Code. See ll U.S.C. § 105(a); Neccz`,
297 B.R. at 379. In other words, even if this Court were to adopt Plaintiff’ s position and
apply the analysis used by the Seventh and Third Circuits, Plaintiff s FDCPA claims still
must be dismissed

Finally, Plaintiff also argues that this Court should not read the Bankruptcy Code
as preempting the FDCPA because the Supreme Court of the United States has stated that
a Court should only rarely infer statutory repeal. (Dkt. 9 at 13-15). Plaintiff also notes
that the Supreme Court of the United States has applied a federal statute in bankruptcy
suits despite the existence of another bankruptcy statute covering the same grounds (z'd. at
15-17), and that the Supreme Court has been reluctant to limit the FDCPA “because other

preexisting rules and remedies may also apply to the conduct alleged to violate the Act”

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(z`d. at 17-18). However, the Supreme Court cases cited by Plaintiff address the
applicability of jurisdictional statutes in both federal law and the Bankruptcy Code, and
whether the term “debt collector” includes an attorney who attempts to collect consumer
debts through litigation See Conn. Nat’l Bank v. Germaz'n, 503 U.S. 249 (1992); Things
Remembered, Inc. v. Petrarca, 516 U.S. 124 (1995); Hel'ntz v. Jenkz'ns, 514 U.S. 291
(1995). Plaintiff does not cite to any Supreme Court decision supporting her position that
the Bankruptcy Code does not preclude her FDCPA claims under the circumstances
present here.
CONCLUSION

For the foregoing reasons, Defendant’s motion to dismiss Plaintiff’s complaint is
granted, and Plaintiff s complaint is dismissed in its entirety. This determination is not
“meant to preclude [Plaintiff’ s] ability to seek relief in the bankruptcy court or to express
any view about the merits of any claim that [she] might bring in that forum.” Yaghobz',
145 F. App’x at 699. The Clerk of Court is directed to close the case.

SG ()RDERED.

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EI:WABETu/A. w®woiii')
` ed States District Judge

 

Dated: January 23, 2015
Rochester, New York

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